     Case 3:20-cv-02897-MMC Document 79 Filed 10/15/20 Page 1 of 5




 1   BLEICHMAR FONTI & AULD LLP
     Peter E. Borkon (Bar No. 212596)
 2   pborkon@bfalaw.com
     555 12th Street, Suite 1600
 3
     Oakland, California 94607
 4   Tel.: (415) 445-4003
     Fax: (415) 445-4020
 5
     BLEICHMAR FONTI & AULD LLP
 6   Javier Bleichmar (pro hac vice)
     jbleichmar@bfalaw.com
 7
     7 Times Square, 27th Floor
 8   New York, New York 10036
     Tel: (212) 789-1340
 9   Fax: (212) 205-3960
10   Counsel for Lead Plaintiff
11   Macomb County Employees’ Retirement System
     and Lead Counsel for the Putative Class
12

13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                SAN FRANCISCO DIVISION
15

16                                                       Case No. 3:20-cv-02897-MMC

17                                                       CLASS ACTION

18   In re Align Technology, Inc. Securities             JOINT STIPULATION AND [PROPOSED]
     Litigation                                          SCHEDULING ORDER
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                   JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER – CASE NO. 3:20-CV-02897-MMC
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 1           Lead Plaintiff Macomb County Employees’ Retirement System (“Plaintiff”) and

 2   Defendants Align Technology, Inc., Joseph M. Horgan, John F. Morici, and Julie Tay

 3   (collectively, the “Defendants,” and together with the Plaintiff, the “Parties”), by and through

 4   their respective counsel, hereby stipulate and agree as follows:

 5           WHEREAS, on June 11, 2020, the Parties filed a Joint Stipulation and [Proposed]

 6   Scheduling Order concerning the time for filing Lead Plaintiff’s Amended Complaint and the

 7   briefing on Defendants’ Motion to Dismiss the Amended Complaint (ECF No. 64);

 8           WHEREAS, on June 12, 2020, the Court issued an Order setting the time for filing Lead

 9   Plaintiff’s Amended Complaint and the briefing on Defendants’ Motion to Dismiss the

10   Amended Complaint, and also scheduling a hearing on the Motion to Dismiss for January 15,

11   2021, a Case Management Conference for March 5, 2021, and setting February 26, 2021 as the

12   date by which the Parties will file a Joint Case Management Conference Statement (the “June

13   12 Order”) (ECF No. 65);

14           WHEREAS, in accordance with the June 12 Order, Lead Plaintiff filed its Amended

15   Complaint on August 4, 2020 and Defendants filed their Motion to Dismiss on September 18,

16   2020;

17           WHEREAS, on October 14, 2020, counsel for Lead Plaintiff contacted counsel for

18   Defendants to request a ten-day courtesy extension of time to file its opposition brief and a

19   corresponding ten-days for Defendants’ reply brief because senior counsel for Lead Plaintiff

20   was displaced for two weeks by the Glass Fire in Sonoma county and in order to permit the

21   Parties adequate time to prepare their respective papers. After counsel for Lead Plaintiff and

22   counsel for the Defendants conferred, it was agreed to extend the time for Lead Plaintiff to file

23   its opposition to the Motion to Dismiss and for Defendants to file their reply in support of their

24   Motion to Dismiss, but leave unchanged the remainder of the case schedule including the

25   scheduled hearing date for this motion;

26           WHEREAS, no other modifications to the June 12 Order have been requested or

27   effected;

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     JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER                                    3:20-CV-02897-MMC
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     Case 3:20-cv-02897-MMC Document 79 Filed 10/15/20 Page 3 of 5




 1         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among

 2   the Parties, through their undersigned counsel, and respectfully requested, that the Court order

 3   as follows:

 4             1. Lead Plaintiff shall file its opposition to Defendants’ Motion to Dismiss on or

 5                 before November 12, 2020;

 6             2. Defendants shall file their reply in support of their Motion to Dismiss on or before

 7                 December 14, 2020; and

 8             3. All other dates in the June 12 Order remain unchanged.

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10    Dated: October 15, 2020                            Respectfully submitted,
                                                         BLEICHMAR FONTI & AULD LLP
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12
                                                         By: /s/ Peter E. Borkon
13                                                       Peter E. Borkon (Bar No. 212596)
                                                         pborkon@bfalaw.com
14                                                       555 12th Street, Suite 1600
                                                         Oakland, California 94607
15                                                       Tel.: (415) 445-4003
16                                                       Fax: (415) 445-4020

17                                                             – and –

18                                                       Javier Bleichmar (pro hac vice)
                                                         jbleichmar@bfalaw.com
19
                                                         Nancy A. Kulesa (pro hac vice)
20                                                       nkulesa@bfalaw.com
                                                         Ross Shikowitz (pro hac vice)
21                                                       rshikowitz@bfalaw.com
                                                         7 Times Square, 27th Floor
22                                                       New York, New York 10036
                                                         Tel: (212) 789-1340
23
                                                         Fax: (212) 205-3960
24
                                                         Counsel for Lead Plaintiff Macomb County
25                                                       Employees’ Retirement System
                                                         and Lead Counsel for the Putative Class
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27
      Dated: October 15, 2020                            WILSON SONSINI            GOODRICH          &
28                                                       ROSATI P.C.
     JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER                                     3:20-CV-02897-MMC
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     Case 3:20-cv-02897-MMC Document 79 Filed 10/15/20 Page 4 of 5




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                                                         By: /s/ Caz Hashemi
 2
                                                         Caz Hashemi
 3                                                       Ignacio E. Salceda
                                                         650 Page Mill Road
 4                                                       Palo Alto, CA 94304-1050
 5                                                       Counsel for Defendants Align Technology,
                                                         Inc., Joseph M. Horgan, John F. Morici,
 6
                                                         and Julie Tay
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     JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER                                  3:20-CV-02897-MMC
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     Case 3:20-cv-02897-MMC Document 79 Filed 10/15/20 Page 5 of 5




 1                                       [PROPOSED] ORDER

 2         Having considered the Parties’ Joint Stipulation, and good cause appearing therefore, IT

 3   IS HEREBY ORDERED that the Joint Stipulation is GRANTED:

 4             1. Lead Plaintiff shall file its opposition to Defendants’ Motion to Dismiss on or

 5                  before November 12, 2020;

 6             2. Defendants shall file their reply in support of their Motion to Dismiss on or before

 7                  December 14, 2020; and

 8             3. All other dates in the June 12 Order remain unchanged.

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10         IT IS SO ORDERED.

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13         Dated:                                            _________________________________
                                                             The Hon. Maxine M. Chesney
14                                                           United States District Judge
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     JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER                                   3:20-CV-02897-MMC
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